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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY




 DARIUS GITTENS,                                Docket No. 1:18-cv-2519-RBK-KMW



                                   Plaintiff,                Civil Action

                                                     NOTICE OF APPEARANCE

 vs.




 MILDRED SCHOLTZ, et al.



                               Defendants.



LET IT BE KNOWN that Plaintiff Darius Gittens has retained Michael Poreda, Esq. as counsel
in this case.

                                                             /s/
                                                       ______________________________
                                                               MICHAEL POREDA, ESQ.
